Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 1 of 7 PageID 120




MARK DAIL,
                              Plaintiff,

-VS-                                                          Case No. 6:O-t-cv-920-Orl-JGG

GEORGE A. ARAB INC., d/b/a Morris
Electric, GEORGE A. ARAB,
                       Defendants.


             ORDERAPPROVINGFLSA SETTLEMENTIN CONSENTCASE

       This cause came on for consideration without oral argument on the following motion:
                                                         --




           MOTION:       JOINT MOTION FOR APPROVAL OF PROPOSED
                         SETTLEMENT AND STIPULATED FINAL JUDGMENT
                         (Doc. No. 33)

           FILED:         August 10,2005


          THEREON it is ORDERED that the motion is GRANTED.

       Plaintiff Mark Dail sued Defendants George A. Arab. Inc. and George A. Arab for violation

of the Fair Labor and Standards Act of 1938. as amended, 29 U.S.C. 5 2 16(b) ("FLSA"). for allegedly

failing to pay him overtime wages. The parties have signed a written Settlement Agreement and

General Release ("Settlement Agreement"), and ask the Court to approve the settlement and to enter

final judgment.
!   Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 2 of 7 PageID 121




     I.     THE LAW

            A.      Approval of Settlements

            Congress enacted the FLSA to protect workers from low wages and long hours that can result

     from the inequality in bargaining power betueen employers and en~ployees.The FLSA. therefore.

     provides that "[alny employer who violates the provisions of section 206 or 207 of this title shall be

     liable to the employee. . . affected in the amount of their unpaid minimum wages. or their unpaid

     overtime compensation. as the case may be. . . ." 29 U.S.C. §216(b). The FLSA's provisions are

     mandatory and. escept in two narrow circumstances generally are not subject to bargaining, waiver.

     or moditication by contract or settlement. Brooklyz Sav. B m k v. 0 'Neil. 324 U.S. 697, 706 (1 945).

     The two circumstances in which FLSA claimsmay be compromised are claims that are 1.) supervised

     by the Secretary of Labor pursuant to 29 U.S.C. 5 21 6(c) and 2.) when a court reviews and approves

     a settlemcnt in a private action for back wages under 29 U.S.C. tj 2 16(b). Lyrlri 's Food Stores. Inc.

     v. UnitedSlates. U S . Dep 't of Labor, 679 F.2d 1350, 1353 (1 1th Cir. 1982).

            Before the Court may approve the settlement, it must scrutinize the settlement to determine

     whether it is a fair and reasonable resolution of a bona fide dispute. Id. at 1354-55. If a settlement

     in an employee FLSA suit does reflect "a reasonable compromise over issues." such as FLSA

     coverage or computation of back wages that are --actually in dispute." the court may approve the

     settlement "in order to promote the policy of encouraging settlement of litigation." Id. at 1354.

     Where a plaintiff is offered full compensation on his FLSA claim, no compromise is involved and

    judicial approval is not required. ~blocKeiiziev. Kindred Hosp. Eust, L. L. C.. 276 F. Supp. 2d 121 1,

     1217 (M.D. Fla. 2003).
Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 3 of 7 PageID 122




         In determining ~vhetherthe settlement is a fair and reasonable resolution. the Court adopts the

factors used in approving the settlement of class actions:

                  (1) the esistence of fraud or collusion behind the settlement: (2) the
                  complexity. expense, and likely duration of the litigation; (3) the stage
                  of the proccedings and the amount of discovery completed; (4) the
                  probability of plaintiffs success on the merits; (5) the range ofpossible
                  recovery: and (6) the opinions of the counsel.

See Leverso I,. SmthTrust Btrt~kofAla.. /Vat.ilssoc., 1 8 F.3d 1 527, 1531 n.6 (1 1th Cir. 1994). When

considering these factors, the Court should keep in mind the --strongpresumption" in favor of finding

a settlement fair. Cotton I,. Hiizton, 559 F.2d 1326, 1331 (5th Cir.1977). Moreover. the Court is

atvare, as the parties must also be, that a -'settlement is a compromise. a yielding of the highest hopes

in exchange for certainty and resolution." 61 re Gen. Motors Corp. Pick-Up Truck F d Tank Prods.

Liab. Litig.. 55 F.3d 768. 806 (3d Cir. 1995). citing Cotton, 559 F.2d at 1330.

         B.       Awards of Reasonable Attorneys' Fees and Costs

         An award of "reasonable attorneys' fee[s] . . . and costs" is mandatory under $ 216(b) if the

employer is held liable. Although the court is obligated to award the attorneys' fees, Congress's use

of the word "reasonable" confers discretion upon the court to determine the amount of fees to be

awarded. In determining the reasonableness of attorneys' fees pursuant to a fee-shifting statute. the

lodestar generally is recognized as a reasonable fee. Cify of Blirlington v. Dague. 505 U.S. 557. 562

(1992).'      The party seeking attorneys' fees bears the initial burden of submitting adequate




            The lodestar is calculated by multiplying the number of hours reasonably expended by a reasonable hourly rate.
A reasonable hourly rate is "the prevailing market rate in the relevant legal community for similar services by lawyers of
reasonably comparable skills. experience, and reputation." Nornmn v. Hotising.-llrth. of City of Alonrgomery, 836 F.2d 1292.
1299 ( 1 1th Cir.1988).
Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 4 of 7 PageID 123




documentation of the hours reasonably expended and of the attorney's qualifications and skill. See

Hensley v. Eckethrt, 461 U.S. 424,433,437 (1 983). Satisfactory evidence of the prevailing market

rate "at a minimum is more than the affidavit of the attorney performing the work." and must address

rates actually billed and paid in similar lawsuits. Nornlun v. Housing Atrth. of C i y of Montgomery,

836 F.2d 1292, 1299 (1 1th Cir. 1 988).

        In collective FLSA actions. the court has a duty to determine the reasonableness of the

proposed attorneys' fees as part of the fairness determination. See, e.g., Strong v. BellSouth

Telecomnzs.. It~c.,137 F.3d 844, 849-50 (5th Cir. 1998). This makes sense. as most settlements of

collective actions involve a lump sum settlement with an amount to be deducted for attorneys' fees.

In such cases. it is necessary for the court to evaluate the overall fairness of the settlement and the

benefit to the plaintiffs.

        The FLSA does not require the court to assess the fairness of an agreed payment of attorneys'

fees in settling an individual action. Indeed, the purpose of the fairness review is to ensure that an

employer does not take advantage of an employee in settling his claim for wages, and not to ensure

that the employee does not overcharge the employer. See Lynn 's Food Stores, 679 F.2d at 1354. In

an individual FLSA claim, where separate amounts are set forth for the payments of unpaid wages and

payments for attorneys fees, the Court has greater flexibility in exercising its discretion in determining

the reasonableness of the attorneys' fee.

         The award of costs is made in accordance with 28 U.S.C. $1920. Goss v. Killian Ouks House

of Learning. 248 F. Supp. 2d 1 162, 1 169 (S.D. Fla. 2003). In an FLSA action, it is error for a district

court to award costs in excess of those permitted by 9 1920. G l e m v. Gen. Motors Corp., 84 1 F.2d
Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 5 of 7 PageID 124




1 567 (1 1 th Cir. 1988) (district court erred in awarding expert witness fees under $2 16(b) that exceeded

the amount allowed by $ 1920). Likewise, a district court must identify reasons for denying costs to

a prevailing party so that the appellate court has some basis to review whether the district court acted

within its discretionary power. Head v. Medford 62 F.3d 35 1. 354 (1 lth Cir. 1995).

11.    APPLICATION

       Plaintiff alleged that he was not paid the minimum wage or overtime wage for several weeks'

work. Docket No. 1, Complaint. 1112. 14. The answer denied these allegations and asserted that

Plaintiff was not Defendant's employee, but an employee of an independent staffing agency, and that

Plaintiff intentionally falsified his time records to claim more hours than he actually worked. Answer,

Docket No. 9. This case involves a bona fide dispute as to liability and the amount owed.

       The parties have agreed to settle this case. Defendant agreed to pay $6.400 to Plaintiff as back

wages and to pay Plaintiffs counsel $10.600 in attorneys' fees and costs. In terms of fairness of the

settlement, each party was independently represented by counsel. Counsel were obligated to

vigorously represent their clients' rights. Based on the amount to be paid to Plaintiff, there is no

suggestion of collusion. Further, the amount ofpotential recovery was small given the limited length

of employment. Given the mandatory award of reasonable attorneys' fees pursuant to 29 U.S.C.

fj 216(b), early resolution of FLSA claims are encouraged and extensive discovery typically is

unnecessary. Also, based on Defendant's affirmative defenses. Plaintiffs probability of success on

the merits was uncertain. The Court finds that settlement of the action in favor of certainty was fair

and reasonable.
Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 6 of 7 PageID 125




       As part of this motion for approval of the settlement. Plaintiffs counsel submitted itemized

billing records supporting the hours worked on thc case. The high hourly rate charged by Plaintiffs

counsel in this case ($250/hour for a third year attorney; $350/hour for lead counsel) may exceed the

reasonable hourly rate in the Orlando market for similar work performed by attorneys with similar

qualifications and experience, although the parties presented no evidence regarding reasonable market

rates. Comparing the amount of the Plaintiffs recovery to the attorneys' fees to be paid. however, the

Court does not find that the amount of attorneys' fees is grossly excessive. See, e.g.. Goss. 248 F.

Supp. 2d at 1 169 (denying attorney's fees of more than $16,000 when plaintiff recovered $3 16 in back

wages). The Court also questions the propriety of certain costs claimed by Plaintiffs counsel.

Defendant, however. joins in moving for the approval of the proposed settlement 'and has "no quarrel

with the Settlement Agreement and what amount was paid to Mark Dail and the amount paid to

Lplaintifrs counsel]." Defendant and Defendant's Counsel's Unopposed Motion to be Excused from

Attending Hearing, Docket No. 38 at 2. The Court, therefore. finds it unnecessary to inquire into the

reasonableness of the hourly rate charged by Plaintiffs counsel, and accepts the parties' stipulation

as to the reasonableness of the attorneys' fees and costs.

       Therefore it is

       ORDERED AND ADJUDGED

       1.      The Joint Motion for Approval of Proposed Settlement and Stipulated Final Judgment

is GRANTED;

       .7      The settlement reached by the parties and described in the motion is approved:

       3.      The case is dismissed with prejudice; and
Case 6:04-cv-00920-JGG Document 41 Filed 09/27/05 Page 7 of 7 PageID 126




       4.     The Clerk is directed to close the case.
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       DONE and ORDERED in Orlando. Florida on ~ e ~ t e m b e r & ~ 2 0 0 5 .




                                                               JAMES G. GLAZEBROOK
                                                         UNITED STATES MAGISTRATE JUDGE


Copies furnished to:
Counsel of Record
